Case 1:25-cv-00039-JJM-PAS      Document 185    Filed 04/28/25   Page 1 of 3 PageID #:
                                       9036



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

              Plaintiffs,

              v.                                  Civil Action No. 1:25-cv-39 (JJM)

 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                            Defendants.

                       DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States

 Court of Appeals for the First Circuit from this Court’s Order enforcing the

 preliminary injunction as to certain funding administered by the Federal Emergency

 Management Agency, as set forth in the Memorandum and Order dated April 4, 2025

 and docketed at ECF No. 175, and from this Court’s Order denying reconsideration

 of that prior Order, dated April 14, 2025 and docketed at ECF No. 182.




                                          -1-
Case 1:25-cv-00039-JJM-PAS   Document 185   Filed 04/28/25   Page 2 of 3 PageID #:
                                    9037



 Dated: April 28, 2025             Respectfully submitted,

                                   YAAKOV M. ROTH
                                   Acting Assistant Attorney General

                                   ALEXANDER K. HAAS
                                   Director

                                   DANIEL SCHWEI
                                   Special Counsel

                                   /s/ Andrew F. Freidah
                                   ANDREW F. FREIDAH
                                   EITAN R. SIRKOVICH
                                   Trial Attorneys
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street NW
                                   Washington, DC 20530
                                   Tel.: (202) 305-0879
                                   Fax: (202) 616-8470
                                   Email: andrew.f.freidah@usdoj.gov

                                   Counsel for Defendants




                                     -2-
Case 1:25-cv-00039-JJM-PAS     Document 185     Filed 04/28/25   Page 3 of 3 PageID #:
                                      9038



                         CERTIFICATION OF SERVICE

        I hereby certify that on April 28, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                               /s/ Andrew F. Freidah
                                               Andrew F. Freidah




                                         -3-
